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                       EXHIBIT 3
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                                                                                         US 20110264246A1
 (19) United States
 (12) Patent Application Publication (10) Pub. No.: US 2011/0264246 A1
        PANTOUA et al.                                                                (43) Pub. Date:                     Oct. 27, 2011
 (54)   CELLULAR PHONE SOFTWARE                                                              Publication Classification
        APPLICATION TO PROMOTE SAFETY AND
        SELECTIVELY DETER UNSAFE PHONE USE                              (51) Int. Cl.
                                                                                      G06F 9/00                (2011.01)
 (75)   Inventors:     TINA PANTOJA, Houston, TX                        (52) U.S. Cl. .......................................................... 700/92
                       (US); William Scott Taylor,                      (57)                          ABSTRACT
                       Houston, TX (US)                                 A method and apparatus for providing a user of a mobile
 (73) Assignee:        W2W LLC                                          device. Such as a cell phone, with applicable legal or safety
                                                                        information, such as restrictions on the use of a cell phone,
                                                                        potential fines for cellphone use, potential dangers, personal
 (21) Appl. No.:       13/091,977                                       protective equipment requirements, prohibitions, guidelines
 (22)   Filed:         Apr. 21, 2011                                    and the like, based on GPS position of the mobile device. A
                                                                        gaming aspect is incorporated as a method of incentivizing
             Related U.S. Application Data                              drivers to utilize the application by providing reward points
                                                                        uses the cell phone in a safe manner and consistent with
 (60) Provisional application No. 61/327.282, filed on Apr.             applicable laws. Accrued points may be redeemed for gift
        23, 2010.                                                       cards or similar rewards.




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                                  SafeCe Server                  /
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           15 -




                       e      Safe Cell Mobile Clients


                                  Fig. 1
                                                                 12
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         address                                                                texting allowed
         lat                                                                    only bluetooth
         long                                                                   potential fine
         radiuS                                                                 School Zones Only


                                                     - 18
          lane                                   /
         age               ACCOUnt
         device id
                                     ---------                   Known Trip                C


                                                                                      / 19
                                                                                   date stared
            -    -          User                                  Journey          miles
        device id
        IS OWner
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                                                 Fig. 2B
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                                                                                     NO


        App Launch                      Download
                                       Latest Rules


                                                                                     Yes
             v-7
                     Prompt User for                   NO
                     trip Completion

                                                                                     Yes

                          Trip
                       Complete?                  NO                          Trip Tracking

                                            User Stops trip
                        Yes


                       Enter Trip                                         & ww
                                                                     Persist Trip                Tripl Summary




                                                            Server               LOCal
                                                                               Datastore




                                                Fig. 3
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          CELLULAR PHONE SOFTWARE                                   ban on distracted driving. For example, in Utah, speaking on
      APPLICATION TO PROMOTE SAFETY AND                             a cell phone may be a violation if the driver has committed
      SELECTIVELY DETER UNSAFE PHONE USE                            another moving offense.
                                                                     0012. In addition to state-wide prohibitions, many towns
             CROSS REFERENCE TO RELATED                             and cities have banned certain types of cell phone use while
                     APPLICATION                                    driving. Finally, the prohibitions of cell phone use while
                                                                    driving is not limited to the United States. The list of foreign
  0001. This application is based upon provisional applica          countries that have some sort of cell phone ban for drivers is
 tion 61/327.282 filed on Apr. 23, 2010, which is incorporated      significant. Most of these countries ban handheld cellphones,
 herein by reference and the priority of which is claimed.          not hands-free devices.
                                                                     0013 Some cell phone applications exist that attempt to
            BACKGROUND OF THE INVENTION                             address cell-phone related distractions while driving. For
                                                                    example, iZUP is a mobile cell phone application developed
  0002 1. Field of the Invention                                    by Illume Software that holds text messages, emails, and
  0003. This invention relates generally to preventing dan          telephone calls and prevents web browsing and running other
 ger and consequences that arise from the use of cellular           non-navigation-related cellphone applications while the cell
 phones, and in particular, their text messaging capabilities,      phone is in a moving vehicle. Another software application,
 while the users are operating a motor vehicle.                     Zoomsafer for example, disables the display and keyboard of
  0004 2. Background Art                                            a Smartphone when it is moving at greater than 15 miles per
  0005 Recent media reports highlight the rise in cata              hour unless it is in a hands-free enabled node, via Bluetooth
 strophic accidents that are caused by distraction and reduced      for example. Other applications, such as iLANE, convert
 reaction time due to consumer texting while driving. The           incoming text and email messages to Voice.
 percentage of young drivers texting or using other hand-held        0014. These present applications attempt to curb unsafe
 electronic devices has increased from 2007, according to the       user behavior by negative reinforcement prohibiting certain
 National Highway Traffic Safety Administration's 2008              Smartphone functionality under given conditions. Rebellious
 nationwide Survey. According to the Survey, at any given           teenagers may be tempted, however, to circumvent cellphone
 moment during daylight hours, approximately 812,000                restriction applications mandated by parents. None of the
 vehicles are being driven by someone using a hand-held cell        known applications employ positive reinforcement tech
 phone, and in 16 percent of all fatal traffic fatalities, driver   niques, such as used in online gaming and which has found to
  distraction was a factor.                                         be particularly effective in teenagers and young adults. It is
  0006. In response to this ever growing danger, many states        desirable, therefore, to provide a cell phone application that
 and municipalities have passed laws to prohibit or limit the       motivates the user to avoid unsafe practices by rewarding the
 use of cell phones while driving in designated areas. Such as      user for good behavior.
 Schools, creating a patchwork approach to safeguarding stu          0015. Additionally, given the ever-changing patchwork of
 dents and other pedestrians at critical times and places in        municipal ordinances and state laws that address cell phone
  various communities.                                              usage, it is difficult for a user to know what legal conse
  0007 For example, a number of states have outlawed                quences might result from his or her actions. None of the
 handheld cell phone use while driving, or have banned cell         present applications notify the user of the particular ordi
 phone use for certain types of drivers. Most make an excep         nances, regulations, or laws that are in effect in a particular
 tion for emergency calls to police, the fire department, medi      location at a particular time It is desirable to inform the user
 cal personnel, and the like.                                       of the legal consequences for using a cellphone in a particular
  0008. At least five states, California, Connecticut, New          area, and with positive reinforcements for safe behavior,
 Jersey, New York, and Washington, have enacted laws ban            allowing the user to exercise his or her Sound discretion in
 ning the use of handheld cell phones while driving. With the       determining whether or not to use a cellphone in a particular
 exception of Washington, these states allow “primary               situation.
 enforcement of an offense.” That means that police officers         0016 3. Identification of Objects of the Invention
 can pull one over for using a handheld cellphone without any        0017. A primary object of the invention is to provide a
 other reason for the traffic stop.                                 method and apparatus that effectively deters unsafe practices
  0009. Seventeen states and the District of Columbia have          of phone use while driving.
 enacted special cellphone driving laws for novice drivers, for      0018. Another object of the invention is to provide a
 example, those with a learner's permit, or young drivers. Such     method and apparatus that utilizes a reward program to
 as those under the age of 18. For example, in California,          encourage safe cell phone practice and adherence to laws.
 drivers under the age of 18 cannot use any type of communi          0019. Another object of the invention is to provide a
 cation device while driving. States with these types of restric    method and apparatus for deterring unsafe cell phone prac
 tions include: California, Colorado, Connecticut, Delaware,        tices that is cost effective.
  Illinois, Maine, Maryland, Minnesota, Nebraska, New Jersey,        0020. Another object of the invention is to provide a
  North Carolina, Oregon, Rhode Island, Tennessee, Texas,           method and apparatus that automatically informs the user of
  Virginia, Washington D.C., and West Virginia.                     local laws and policies when the user enters neighborhoods,
   0010 Fifteen states plus the District of Columbia have           cities, counties, or states where cellphone usage prohibitions
  also banned school bus drivers from using cell phones while       have been enacted, thus alerting the user of the potential legal
 passengers are present.                                            consequences of driving while using a mobile communica
  0011. Two states, Washington and New Jersey, have                 tions device.
 banned text messaging for all drivers. Some states, including       0021. Another object of the invention is to provide a
 Utah and New Hampshire, lump cell phone use into a larger          method and apparatus that automatically informs the user of
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 potential hazards or specific requirements when the user            application logs text messages, email, and calls that were
 enters defined areas such as confined spaces, refineries,           missed when disabled due to transit. Once the SafeGell appli
 manufacturing plants, ships, facilities, and military installa      cation has determined that motion has ceased, text messag
 tions, thus alerting the user of the potential dangerous conse      ing, email, and telephone functions are automatically re-en
 quences while working or entering into these areas.                 abled. In this “in transit” restricted-use mode, the SafeCell
  0022. Another object of the invention is to provide a              application includes an emergency override capability for
 method and apparatus including a web-based application to           911 and up to three other emergency contact numbers, such as
 tract a user's position, monitor safe driving, and inform the       parents, employer, etc. A passenger-use override capability
 user when entering defined areas that have specific safety
 requirements.                                                       may also be included.
                                                                      0028. According to a default operation setting, the
             SUMMARY OF THE INVENTION                                restricted “in transit” mode, which restricts text message,
                                                                     email, and telephone call functionality when traveling at
  0023 The objects described above and other advantages              speed, may be suspended at any time by the mobile device
 and features of the invention are incorporated in a method and      user. However, the ability to suspend the restricted “intransit'
 apparatus that provides positive, behavior-modifying rein           mode may be limited due to parental settings, if desired. The
 forcement for deterring unsafe behaviors, including unsafe          SafeCell application logs when and where its restricted “in
 cellphone use, and in particular, text messaging ("texting”),
 while driving. In addition, other safety-related information,       transit” mode is Suspended, the particular cell phone usage
 Such as personal protective equipment requirements, prohi           that occurs during these periods, such as whether text mes
 bitions, or other pre-defined guidelines, may be provided to        saging or voice telephone calls are made, what speeds and
 the user based on the user's location.                              accelerations occurred during the period, and what legal
  0024. In a preferred embodiment, the invention is embod            restrictions were in place at the time. These parameters are
 ied in at least one SafeCell software application in combina        logged to a web based account hosted on a SafeCell server
 tion with a handheld device, cellphone, Smartphone (such as         computer, which can be accessed and reviewed by parents and
 an iPhone(R), Android R. device or personal GPS unit), per          employers, for example. Such web based account may
 sonal digital assistant ("PDA") (such as a Palm Pilot(R) or         include a customized landing page for the users, if desired.
 Blackberry(R) device), or tablet computer (such as the
 Motorola Galaxy(R), or iPadR devices) hereinafter simply             0029 Based on the cell phone usage patterns developed
 referred to as a mobile device, and a computer server that          during a user's trips, for example, whether or not text mes
 communicates with the end-user SafeCell software applica            saging is used while the phone is in motion or whether the
 tion(s).                                                            mobile device is used in a “no cell phone' school Zone, the
  0.025 Most modern mobile devices include an onboard                system and method according to the preferred embodiment
 Global Positioning System (“GPS) receiver, which can pro            includes a web-based rewards and tracking system, in which
 vide position, Velocity, altitude, and directional information.     points are accumulated by the user for rewarding safe behav
 The SafeGell application receives and processes input from          iors. Likewise, points may be deducted from a user's point
 the mobile devices GPS receiver and uses the GPS position           balance for unsafe mobile device usage (such as Suspending
 and Velocity information to log details about a user's trips. For   the SafeCell application in order to receive or place a call).
  mobile devices that include an accelerometer, accelerometer        The reward points may be redeemed by the user in a variety of
 input may also be received and processed by the SafeGell
 application.                                                        ways, Such as in gift cards, Vouchers, and the like. Reward
  0026. The SafeCell application accesses a database con             points may also be used to promote gaming play between
 taining all legal safety equipment, standards, processes, pro       multiple subscribers to the SafeGell application, in which
 hibitions or other guidelines that are searchable interms of the    users can compete against one another to win prizes.
 locality in which the prohibition applies. The SafeGell appli        0030. As part of the web based interface provided to users
 cation, based on mobile devices location as determined by           is the capability to have multiple “cellphone numbers’ added
 GPS, displays the applicable legal and safety information, if       to a primary account. An individual, manager, business, or
 any, for their location. For example, the SafeCell application      parent will have the ability to monitor the usage of the mobile
  determines if the user's mobile device is within a known
 School Zone, and if so, the application provides a notification     device(s) under their account. As part of primary accounts
 indicating that the user is entering a “No Cell Phone Zone'         settings is the ability to predefine the time and/or locations
 and displays the corresponding icon and or potential fine(s).       that a mobile device has the ability to send text messages. The
 Similarly, if the user's mobile device is located within a          account holder can also set predefined geographical areas that
 known hazardous area, the application provides a notification       the mobile device should be located. When the monitored
 indicating that the user is entering Such an area and displays      mobile device exits the allowed area, a predefined message is
 the required safety equipment, standards, processes, prohibi        systemically sent to the primary account holder's designated
 tions and other pre-defined guidelines.                             contact address notifying them.
  0027. When the SafeCell application is enabled (either
 manually prior to beginning the user's trip or automatically),       0031. The SafeCell application preferably has the ability
 any time vehicle is moving more than 4 miles per hour, the          to display real-time traffic and or weather relevant to a jour
 application disables text message, email, and telephone call        ney based on way points and user's position. The trip way
 functionality, responding to incoming communications with           points may be captured and stored from a previous trip or
 an automated message to let those others know that the user is      manually entered or downloaded. An application program
 temporarily unavailable because in transit. The SafeGell            ming interface displays the traffic or weather information.
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           BRIEF DESCRIPTION OF THE DRAWINGS                        0049 FIG. 15 is a view of a mobile device client password
                                                                   screen, showingfields for entry of a password to access paren
  0032. The invention is described in detail hereinafter on        tal or employer controls and settings; and
 the basis of the embodiments represented in the accompany          0050 FIG. 16 is a view of a mobile device client options
 ing figures, in which:                                            screen, showing various icons for accessing various functions
  0033 FIG. 1 is a block diagram illustrating interaction and      available within the SafeCell software application.
 information exchange between a SafeGell application server
 computer system and an end user mobile device running a                     DESCRIPTION OF THE PREFERRED
 SafeGell application;                                                       EMBODIMENT OF THE INVENTION
  0034 FIG. 2A is a high-level logic flow schematic accord
 ing to a preferred embodiment of the invention, showing four       0051 FIG. 1 illustrates a preferred embodiment of the
 distinct branches of logic account logic, trip logic, cellphone   invention, including a central server computer 14 in commu
 rule logic, and game theory logic that are provided to a Safe     nication with a SafeCell software application residing in and
 Cell application user based on information supplied by the        executed by a cellphone, smartphone (such as an iPhone(R) or
 user,                                                             Android R device), or personal digital assistant ("PDA")
  0035 FIG. 2B is a block diagram illustrating a domain or         (such as a Palm Pilot(R) or Blackberry(R) device), or tablet
 data model for implementing the logic of FIG. 2A according        computer (such as the Motorola Galaxy(R), or iPadR devices)
 to a preferred embodiment of the invention;                       hereinafter simply referred to as a mobile device client 12.
  0036 FIG. 3 is a block level flow chart outlining a pre          Preferably, numerous mobile device clients 12 (each running
 ferred implementation of the trip logic branch of FIG. 2          a SafeCell application) are in combination with the central
 wherein the movements of an end user mobile device running        server computer 14.
 a SafeCell application are tracked;                                0.052 The SafeCell application is preferably download
  0037 FIG. 4 is a view of a mobile device client tracking         able and installable on mobile devices directly from server
 screen, showing an orb icon that provides information about       computer 14 or another business web site. The SafeGell appli
 cellphone restrictions;                                           cation includes step by step instructions for installation and
  0038 FIG. 5 is a view of a mobile device client navigation       setup, including preferences, and parental controls, for
 and trip Screen, showing a map that provides information          example.
 about cell phone restrictions as well as navigation assistance     0053. The SafeCell software application is preferably
 that allows a user to plan, name and save completed trips;        developed for use in iPhone SDK environment using Apple's
  0039 FIG. 6 is a view of a mobile device client emergency        Cocoa development platform or other mobile devices soft
 number Screen, showing three preprogrammed emergency              ware development applications. The iPhone and iPad touch
 numbers that may be rapidly accessed with one-button con          are sophisticated devices that combine the revolutionary
 trol;                                                             multi-touch interface with powerful features, such as email
  0040 FIG. 7 is a view of a mobile device client game             and instant-messaging capability, and a full-featured browser.
 toggle screen, showing abutton that allows the user to enable     Additionally, the SafeCell software application is preferably
 or disable game play features of the SafeGell application;        adapted for use with all other Smartphones, cell phones, and
  0041 FIG. 8A is a view of a mobile device client screen,         PDAs having sufficient capability. The SafeCell software
 showing information for most recent trips, including status       application ideally includes the ability to be integrated into
 icons indicating adherence or lack of adherence to applicable     each applicable mobile device's operating system (“OS) to
 cell phone laws and gaming points that were rewarded or           allow for the application to be launched automatically at the
                                                                   startup of the device and run in background. Alternatively, if
 deducted for those trips;                                         the SafeGell software application is not running in back
  0042 FIG.8B is an alternative view of recent trip screen of      ground, one-touch activation of the application is provided.
 FIG. 5B in which the adherence icons and gaming points             0054 Server computer 14 receives and collect data from
  indicia are combined;                                            mobile device client 12, including trip details (location,
  0043 FIG.9 is a view of a mobile device client trip history      Velocity, heading, altitude, starts and stops) and mobile
 screen in which missed calls or interruptions are logged for      device usage details. Server computer 14 manages family and
 the most recent trip;                                             enterprise account settings, including the calculation of
  0044 FIG. 10 is a view of a mobile device client user's          reward points. Finally, server computer 14 includes one or
 home screen, showing a Summary of points accrued for the          more of databases 15, from which it provides information to
 three most recent trips and the user's cumulative gaming          the end users regarding the relevant laws, ordinances, prohi
  Score;                                                           bitions, legal, safety equipment, standards, processes, prohi
  004.5 FIG. 11 is a view of a mobile device client leader         bitions and other forms of pre-defined guidelines (hereinafter
 board Screen, showing the leading members of a user's peer        simply "cell phone usage rules or guidelines”) for the user
 group of SafeCell application Subscribers based on cumula         based on the location of the mobile device client 12.
 tive gaming score;                                                 0055 Mobile device client 12 preferably employs cellular
  0046 FIG. 12 a view of a mobile device client download           data connections (including GPRS, EDGE, 3G, 4G) and
 rules screen, showing various cellphone rules that have been      includes an onboard Global Positioning System (“GPS)
 downloaded by the user;                                           receiver, which can provide position Velocity, heading, alti
  0047 FIG. 13 a view of a mobile device client signup             tude, starts, and stops information. Assisted GPS, which ulti
 screen, showing data fields to be initially populated by a        lizes cell-tower-triangulation, Wi-Fi hotspot visibility, etc., to
  subscriber;                                                      supplement GPS, privately owned GP systems maintained by
   0048 FIG. 14 is a view of a mobile device client device         companies may also be used. The SafeCell application
 management screen, showing multiple mobile device clients         receives and processes input from the mobile device's GPS
 that are associated with a single family account;                 receiver and uses the GPS position, location, Velocity, head
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 ing, altitude, starts, and stops information to log details about   message (for example, "Breathing Equipment Required
 a user's trips. For mobile device's that include an accelerom       From This Point On) based on a database that stores geo
 eter, accelerometer input may also be received and processed        specific safety information.
 by the SafeCell application.                                         0060 According to a default operation setting, the
  0056 Mobile device client 12 provides includes a Safe              restricted “in transit” mode, which restricts text message,
 Cell Software application. Upon launch of the application, the      email, and telephone call functionality when traveling at
 system immediately checks to identify whether the phone is          speed, may be suspended at any time by the mobile device
  in use with a Bluetooth-enabled device. As some of the cell        user. However, the ability to suspend the restricted “intransit'
 phone restriction rules accommodate cell phone usage with           mode may be limited due to parental settings, if desired. The
 Bluetooth or other appropriate hands-free enabling devices,         SafeCell application logs when and where its restricted “in
                                                                     transit” mode is Suspended, the particular cell phone usage
 the SafeCell application takes the mobile devices present           that occurs during these periods, such as whether text mes
 configuration into consideration. If the mobile device client is    saging or voice telephone calls are made, what speeds and
 not presently connected to an appropriate hands-free device         accelerations occurred during the period, and what legal
 but an applicable law allows cellphone use with such device,        restrictions were in place at the time. These parameters are
 the SafeGell application notifies the user so that he or she may    logged to a web based account hosted on a SafeCell server
  enable hand-free devices, if available.                            computer, which can be accessed and reviewed by parents and
   0057. In addition to hands-free use via Bluetooth, the            employers, for example. Such web based account may
  SafeGell mobile device client may provide for hands-free           include a customized landing page for the users, if desired.
  voice control of the various SafeGell application functions,       Additionally, for enterprise customers, reports may be avail
  for example, via the Ford Motor Company SYNC Applink               able for download in excel or Adobe Acrobat file format for
  interface, General Motors OnStar Rinterface, Garmin(R) inter       review and auditing of employees’ adherence to the compa
 face, TeleCommunication Systems VS Navigatora(R) as well            ny's cell policies.
 as other onboard navigation user interfaces. The SYNC                0061 Based on the cell phone usage patterns developed
 Applink as other listed interfaces allows hands-free voice          during a user's trips, for example, whether or not text mes
 control or steering wheel button control of popular iPhone(R),      saging is used while the phone is in motion or whether the
 Android R, or BlackBerry(R) Smartphone applications. The            mobile device is used in a “no cell phone' school Zone, the
 SafeGell application is preferably voice activated by the user      system and method according to the preferred embodiment
 using various commands, such as “Start SafeGell” for launch         includes a web-based rewards and tracking system, in which
 ing the SafeCell application. The SafeCell application can          points are accumulated by the user for rewarding safe behav
                                                                     iors. Likewise, points may be deducted from a user's point
 also be launched automatically on other devices once the            balance for unsafe mobile device usage (such as Suspending
 vehicle is in motion at 4 miles per hour. Other commands are        the SafeCell application in order to receive or place a call).
 also ideally provided. Voice control also preferably includes       The reward points may be redeemed by the user in a variety of
 the use of software-generated audible Voice prompts trig            ways, Such as in gift cards, Vouchers, and the like. Reward
 gered by geographical position. For example, the user may be        points may also be used to promote gaming play between
 notified with a voice prompt, “You are now entering a no cell       multiple subscribers to the SafeGell application, in which
 school Zone.” “Cellphones are now allowed,” “Personal Pro           users can compete against one another to win prizes.
 tection Level V is not required,” or “Caustic Area No                0062 FIG. 2A is a high-level logic flow schematic accord
 Entry.”                                                             ing to a preferred embodiment of the invention, showing four
  0058 When the SafeCell application is enabled, any time            distinct branches of logic account logic, trip logic, cellphone
 vehicle is moving more than 4 miles per hour, the application       rule logic, and game theory logic that are provided to a Safe
 disables text message, email, and telephone call functionality,     Cell application client based on information supplied by the
 responding to incoming communications with an automated             user. The distinct structure and functioning of each branch of
 message (or for example, providing a status of “X” via Face         logic is detailed below.
 book or Twitter) to let those others know that the user is           0063 FIG. 2B is a block diagram illustrating a domain or
 temporarily unavailable because in transit. The SafeGell            data model of database 15. Location data for all schools, for
 application logs text messages, email, and calls that were          example, is cataloged at block 16. Federal, state, county and
  missed when disabled due to transit, as illustrated in FIG. 9.     local cell phone restrictions and prohibitions, if any, in the
 Once the SafeCell application has determined that motion has        form of statutes, regulations, or ordinances are cataloged at
 ceased, text messaging, email, and telephone functions are          block 17. Together, this data is processed by server computer
 automatically re-enabled. In this “in transit” restricted-use       14 so that applicable cell phone restrictions are pushed to all
 mode, the SafeCell application includes an emergency over           mobile device clients 12 based on their individual locations in
 ride capability for 911 and up to three other emergency con         real time. Subscriber account information is stored at block
 tact numbers. Such as parents, employer, etc. A passenger-use       18, and each user's trip details is stored at block 19.
 override capability may also be included.                            0064 FIG. 3 is a block level flow chart outlining a pre
  0059. The SafeCell application logs the user's GPS loca            ferred implementation of the trip logic branch of FIG. 2A
 tion, speed, altitude, and heading. The SafeCell application        wherein the movements of mobile device client 12 are tracked
 can be enabled to provide other safety information prior to the     Its operation is illustrated as follows: A user enters vehicle
 user entering a predefined area in which protocols have been        and launches the SafeCell application to start a new trip, or the
 implemented that require specific safety equipment, stan            SafeCell application starts automatically once the application
 dards, processes, prohibitions or other forms of pre-defined        determines that the device is moving at more than 4 miles per
 guidelines. In the event the user is entering into Such an area,    hour. The car starts in motion, meanwhile the mobile device
 the SafeCell application provides the user with an automated        client 12 collects data pertaining to accelerometer and GPS
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 activity, current location, and time. The data is used to            Users earn points for long and/or repeated trips on which they
 describe a summary of the trip for later review. Specifically,       safely leave the SafeCell application running the entire time.
 the SafeCell application tracks the following data during a          Interruptions to the SafeGell application reduce points.
 trip: Current location (based on GPS or Assisted GPS), esti           0070 FIG. 8A is a view of a mobile device client recent
 mated speed (based on GPS or Assisted GPS averaged over              trips screen 60, showing information for most recent trips,
 time), date, time, distance traveled, latitude, longitude, and       including start and end points and the gaming points earned.
 interruptions. Interruptions may be caused by a number of            Status icons 62 indicating adherence or lack of adherence to
 activities, most notably incoming phone calls and text mes           applicable cell phone laws and gaming point indicia 64 that
 sages. The user may quit the application. The user may also          display gaming point rewarded or deducted for those trips are
 suspend the SafeGell application to use the phone. When the          displayed. FIG.8B is an alternative recent trips screen 66 in
 SafeGell application is resumed, it continues tracking the trip.     which the cell phone rules adherence and gaming points are
  0065. A tracking screen 20, such as that illustrated in FIG.        displayed combined color coordinated indicia 68. For
 4, is visible during a trip. This screen serves as a visual          example, the number of points awarded may be displayed
 reminder to not use the phone for SMS texting, email, or other       with a green background, and the number of points forfeited
 activities such as entering a school Zone. Additionally, the         may be displayed with a redbackground. Recent trips screens
 screen may provide prompts or subtle hints to the user that          60 and 66 may also provide a brief explanation as to why
 their current location has strict traffic laws around cell phone     points were awarded or deducted. FIG. 9 illustrates an
 usage. For example, tracking screen 20 includes icons 21, 22         optional trips history screen 70 in which interruptions or
 that represent the applicable cellular law(s) that are in place      missed calls and texts during a particular trip are displayed.
 based on their real-time GPS location. These icons may                0071 FIG. 10 illustrates a user's home page screen 80.
 include a school house icon for either being within 900 feet of      Screen 80 shows the user's last three trips and the score
 a school or if there is a specific law for using a cellular device   associated with each one of them. Screen 80 also shows the
 in a School Zone, a text messaging bubble icon indicating            player's overall score utilizing the SafeGell application.
 there is a cellular law in place that prohibits texting, and/or a     0072 FIG. 11 illustrates a leader board screen 90 of the
 cellphone icon indicating that there is a cellular law in place      SafeCell application. Server computer 14 (FIG. 1) pushes
 that prohibits the use of a mobile device. Each of these icons       leader board information, including the identity of SafeGell
 are in a gray state unless the SafeCell application identifies       application Subscribers having accrued the most points, to
 that there is an applicable law in place for the users immediate     various mobile device clients 12. Various categories of com
 GPS location. The icons turn red when a cell phone law or            petition, including categories that restrict contestants based
 ordinance applies. Each change inappearance will be accom            on peer group (for example, age, sex or geography, such as
 panied by an audible prompt of the corresponding law or              students belonging to a particular School), business unit or
 ordinance indicating that there is a cell phone law in place.        division may be used to incentivize participation in the gam
 The user has the freedom to acknowledge the cell phone               ing and promote safe mobile device usage habits.
 restriction notification and disable the texting function, for        0073 Cellphone usage rules vary by federal, state, county,
 example, or to discard or disregard the prompt.                      city, and even within a municipality. Server computer 14 will
  0066. Buttons 24, 26 to suspend and resume the SafeGell             select and download applicable rules for a user's current
 application are provided, and an Emergency button 28 to              location, presenting the rules it in an easy-to-read format.
 allow emergency calls is provided. Pressing Emergency But            These applicable rules are updated in real time as the user
 ton 28 opens Emergency Screen 40, from which911 or other             travels. For example, the SafeCell application may determine
 preprogrammed numbers may be quickly dialed by a single              if a mobile device client 12 is located within a known school
  selection.                                                          Zone by utilizing a Google Maps application with overlay
  0067 FIG. 5 illustrates an additional tracking screen 30,           technology. However, other suitable Geographic Information
 which may be used as a source of navigation information              System (GIS) technology and methods may be used as appro
 while driving, to plan a trip, or to save a trip after it has been   priate. FIG. 12 illustrates a mobile device client screen 100 in
 completed, as described below. The navigation information            which cellphone rules for particular areas can be selected and
 by optionally be imported from a separate Software applica           manually downloaded for viewing by the user, if desired.
 tion. Navigation screen 30 preferably includes a moving map           0074 The SafeGell system provides for parental or com
 32, and areas of cellphone restriction are indicated as colored      pany controls, including the ability for parents or companies
 shading within map 32.                                               to set default rules for the application. For example, parents
  0068. The SafeGell application incorporates a gaming                may disable the user's ability to Suspend, or interrupt, opera
 aspect as a method of incentivizing drivers to utilize the           tion of the SafeGell application in order to place or receive
 application. This gaming aspect provides a user with a way to        calls, emails or text messages when in motion. Parents and
 accrue points by using the application and not texting or using      companies have the ability to preload the application to new
 their cell phone in locations where cell phone use is prohib         or existing phones, and application preferences have the abil
 ited by state or local laws. The SafeCell application provides       ity to be password protected. Parents and companies have the
 users with various metrics on the levels that they have              ability to preload the application with specific times that
 obtained. Once users have achieved predefined point levels,          certain features of the phone are functional. Parents and com
 they have the ability to redeem their points for gift cards or       panies have the ability to preload the application with pre
 similar rewards. The gaming mode can be toggled on and off           defined geographical areas that certain features of the mobile
 in a Game Toggle Screen 50 as illustrated in FIG. 7.                 device will function along with notification if the mobile
  0069. At the end of the trip, if the game elements are              device leaves the pre-defined geographical area(s). FIG. 13
 enabled, the user is prompted by mobile device client 12 to          illustrates a signup Screen 110. Signup screen 110 appears
 name the trip (see FIG. 5) and to post it for scoring. The trip      after the SafeCell application has been successfully down
 is saved to the device and uploaded to the server computer 14.       loaded to a mobile device. The subscriber inputs appropriate
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  information into each of the fields. FIG. 14 illustrates an     (0077. The Abstract of the disclosure is written solely for
 account management Screen 120, in which multiple devices         providing the United States Patent and Trademark Office and
 can be associated with a family account, for example. FIG. 15    the public at large with a way by which to determine quickly
 illustrates a password entry screen 130 that may be used in      from a cursory reading the nature and gist of the technical
 conjunction with parental or company control.                    disclosure, and it represents solely a preferred embodiment
                                                                  and is not indicative of the nature of the invention as a whole.
  0075 FIG. 16 illustrate an options screen 140 of the Safe        0078 While some embodiments of the invention have
 Cell application software. From options screen 140, the user     been illustrated in detail, the invention is not limited to the
 can update device information by selecting the “Device' icon     embodiments shown; modifications and adaptations of the
 141, input personal information for mobile device client 12      above embodiment may occur to those skilled in the art. Such
 by selecting the “Profile' icon 142, manage devices from         modifications and adaptations are in the spirit and scope of the
 management screen 120 (FIG. 14) by selecting the “Manage         invention as set forth herein:
 Devices' icon 143, see earned game points and access the           1. A method for incentivizing a user to form safe cellphone
 leader board screen 90 (FIG. 11) by selecting the “Game          usage habits comprising the steps of:
 Play' icon 144, view applicable cell phone rules based on          receiving by a central server a geographic location of a
 GPS location by selecting the “Rules' icon 145, and program           mobile device user;
 emergency numbers by selecting the “Emergency Numbers'             transmitting by said central server an applicable legal
  icon 146.
                                                                       restriction on mobile device usage to a mobile device of
   0076 While the invention is described above with refer              said user based on said geographic location; and
  ence to a SafeCell mobile device client 12, the SafeCell          providing points by said central server to said mobile
  application may alternatively be preloaded or downloaded             device of said user based on said user complying with
  directly to a vehicle's memory, hard drive and executed by an        said applicable legal restriction.
  onboard computer system, Such as an onboard navigation            2. A method of providing relevant safety information to a
  system, or by an aftermarket navigation system such as a        user of a mobile device comprising the steps of:
  TomTom or Garmin GPS system, for example within the               receiving by a central server a geographic location of said
  scope of the invention. The SafeGell applications cellular           mobile device;
  laws at a federal, state, county, and city may be pushed          transmitting by said central server an applicable safety
  directly to the above devices as additional content for other        message based in said geographic location.
  existing application or integrated into the devices via an
  application program interface.                                                             ck   *   :   *   :
